                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                         Motion GRANTED.
                               NORTHEASTERN DIVISION                                 Hearing reset for
                                                                                     7/17/14 at 3:00 p.m.
UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       No. 2:11-00002
                                               )       Judge Trauger
TIFFANY BROOK NORRIS                           )

                    MOTION TO CONTINUE REVOCATION HEARING

       Comes now Tiffany Norris, by and through counsel, and requests that this Honorable Court

continue the revocation hearing which is currently scheduled for Tuesday, June 17, 2014, at 2:30

pm and reschedule it for a date convenient to the Court after June 27, 2014. Counsel is scheduled

to attend the Trial Practice Institute in Macon, Georgia, from June 16 - June 27, 2014.

                                               Respectfully submitted,

                                               s/ Dumaka Shabazz
                                               DUMAKA SHABAZZ (BPR#022278)
                                               Assistant Federal Public Defender
                                               810 Broadway, Suite 200
                                               Nashville, TN 37203
                                               615-736-5047
                                               E-mail: dumaka_shabazz@fd.org


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of June, 2014, I electronically filed the foregoing Motion
To Continue Revocation Hearing with the U.S. District Court Clerk by using the CM/ECF system,
which will send a Notice of Electronic Filing to the following: Blanche Cook, Assistant U.S.
Attorney, 110 Ninth Avenue South, A-961, Nashville, TN 37203-3870.

                                               s/ Dumaka Shabazz
                                               DUMAKA SHABAZZ




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